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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §              Case No: 6:22-cv-00515-ADA-DTG
      Plaintiff,                      §
                                      §              PATENT CASE
vs.                                   §
                                      §
FORD MOTOR COMPANY,                   §
                                      §
      Defendant.                      §
_____________________________________ §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Display Technologies, LLC and Ford Motor Company by their respective

undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff and Defendant in this Action are dismissed with

prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: February 17, 2023.

Respectfully submitted,


/s/D. Bradley Kizzia                     By: /s/Jennifer Parker Ainsworth
JAY JOHNSON                              Jennifer Parker Ainsworth
State Bar No. 24067322                   TX State Bar No. 00784720
D. BRADLEY KIZZIA                        jainsworth@wilsonlawfirm.com
State Bar No. 11547550                   Wilson, Robertson & Cornelius, P.C.
KIZZIA JOHNSON, PLLC                     909 ESE Loop 323, Suite 400
1910 Pacific Ave., Suite 13000           Tyler, Texas 75701
Dallas, Texas 75201                      Telephone: (903) 509-5000
(214) 451-0164                           Facsimile: (903) 509-5092
Fax: (214) 451-0165
jay@kjpllc.com                           Justin E. Pierce
bkizzia@kjpllc.com                       JEPierce@venable.com
                                         Charles J. Monterio, Jr.
ATTORNEYS FOR PLAINTIFF                  CJMonterio@venable.com
                                         Venable LLP
                                         600 Massachusetts Avenue, NW
                                         Washington, D.C. 20001
                                         Telephone: (202) 344-4569
                                         Facsimile: (202) 344-8300

                                         J. Daniel Kang
                                         JDKang@venable.com
                                         Venable LLP
                                         1270 Avenue of the Americas, 24th FL
                                         New York, NY 10020
                                         Telephone: (212) 307-5500
                                         Facsimile: (212) 307-5598

                                         ATTORNEYS FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
February 17, 2023, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                            /s/D. Bradley Kizzia
                                            D. BRADLEY KIZZIA




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